            Case 2:24-cv-00197-RAH Document 70-10 Filed 07/15/24 Page 1 of 3

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Asphyxia due to accidental nitrogen gas inhalation: a case report


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       Intoxications resulting from asphyxiate gases, such as nitrogen can cause hypoxia and even death. We present
       a case of a patient with nitrogen intoxication due to inadvertent industrial exposure. In this case, the patient
       survived and the outcome was different from those reported in the literature. For patients presenting to the
       emergency department from a workplace with a history of loss of consciousness after using of self-contained
       breathing apparatus, possibility of nitrogen or other simple asphyxiate gas intoxication should be considered
       seriously. (Hong Kong j.emerg.med. 2012;19:46-48)




       Keywords: Inert gas narcosis, nitrogen narcosis, occupational exposure, petroleum, poisoning




Introduction                                                     nitrogen. We presented a workplace incident in an oil
                                                                 refinery, resulting from the inhalation of pure nitrogen
Nitrogen is an inert, gas which is heavier than air. It          gas, and potential risk factor for toxic gas inhalations is
is also colourless, odorless and tasteless gas and constitutes   emphasized.
to approximately 78% of the Earth's atmosphere.
Nitrogen like argon, methane, propane and carbon
dioxide considered to be a simple asphyxiate gas. It             Case
displaces oxygen from the inhaled air causing life
threatening condition. Reduction of atmospheric oxygen           A 41-year-old oil refinery worker with the initial diagnosis
to less than 25% of normal can produce unconsciousness           of 'harmful gas intoxication' in workplace was referred to
in seconds and death within minutes.1 Toxicity and deaths        our hospital from a small community hospital. The patient
related to nitrogen inhalation in underwater diving with         had used a self-contained breathing apparatus combined
self-contained underwater-breathing apparatus (SCUBA)            with a helmet inside a closed tent during sand blasting
and suicide victims have been reported in the early              for metal surface cleaning. The patient was suspected to
literature. 2 However, there is a limited incidence of           connect by fault his air-respirator to nitrogen source
asphyxiation in work-related industrial incidents due to         instead of oxygen. According to his colleagues, the patient
                                                                 was found collapsed inside the tent though the down time
                                                                 was not known. Initial first aid was provided on site by
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                                                                 the co-workers and the patient was sent to a nearby
 zmir Tepecik Training and Research Hospital, Department of      emergency department. He was found to have difficulty
Emergency Medicine, Gaziler Caddesi No: 468, Yeni ehir/ zmir,    of breathing and altered mental status. His initial vital
Turkey
                                                                 signs were reported as blood pressure 140/90 mmHg,
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                                                                 SpO2 87% on room air, and blood glucose 9.9 mmol/L.
Ersin Aksay, MD                                                  The patient was started on high flow O2 and was given
            Case 2:24-cv-00197-RAH Document 70-10 Filed 07/15/24 Page 2 of 3

Çal kan Tür et al./Nitrogen gas asphyxia                                                                                     47



nebulised salbutamol (5 mg) and intravenous (IV)
metilprednisolone (160 mg) prior to the transfer to our
hospital.

The patient's vital signs upon presenting to our emergency
department (ED), approximately 3 hours after the
incident, were as follows: blood pressure
117/71 mmHg, pulse 111 bpm, respiratory was laboured
and rate was 30 per/minute, SpO2 93% on room air (if
he was deoxygenated) and he was lethargic with a Glasgow
Coma Scale of 10. No fever was noted. Involuntary
movement in the form of rapid sitting up from a supine
position was observed. On physical examination his                 Figure 1. Computed thorax tomography revealed pneumonic
breathing sounds were clear and equal bilaterally. Bilateral       consolidation in bilateral lower lobe posterior segments.
subconjunctival haemorrhage was noted. No sign of head             A manikin study to compare video-optical intubation stylet
trauma were observed. Laboratory results including                 versus Macintosh laryngoscope used by novice in normal and
cardiac markers and electrolytes were normal except for            simulated difficult airway intubation.
the following: glucose at 10.6 mmol/L, urea 16.1 mmol/
L, aspartate transaminase 41 U/L (range <35 U/L), creatin
kinase 403 U/L (range 171 U/L), amylase 229 U/L                    chest X-ray and multiple basal atelectasis shown on the
(28-100 U/L), white blood cell 23.9 K/uL (range                    thorax tomography examination. The abnormality
4-10 K/uL). Venous blood gas analysis revealed                     resolved on follow up chest X-ray examination. The
the following: pH 7.37, pCO 2 39 mmHg, pO 2                        clinician had investigated him for tuberculosis for 3 weeks.
35 mmHg, HCO 3 22.5 mmol/L, BE -2.8 mmol/L.                        The patient was discharged without any permanent sequel
Computed thorax tomography revealed pneumonic                      or complication.
consolidation in the bilateral posterior segments of lower
lobe (Figure 1). Cranial computed tomography was
normal. Five milligram of midazolam was administered               Discussion
intravenously for agitation. The patient's vital signs two
hours after the arrival on our ED were as follow: blood            In industrialised nations, contact with chemicals has
pressure 99/56 mmHg, pulse 106 bpm, respiratory rate               a serious potential risk of intoxication. Simple asphyxiates,
24 per/minute and SpO2 97% with supplemental oxygen                such as acetylene, hydrogen, neon, argon and nitrogen
(10 L/min via face mask).                                          are used in petro-chemical, aviation and automobile
                                                                   industries in welding and illumination gases. They can
A neurosurgery consultation was undertaken 10 hours                reach dangerous levels in closed and poorly ventilated
post incident and the patient was noted to be alert, awake         quarters.1-5 However reports related to asphyxiate gas
and oriented with no neurological deficit. There was no            inhalation toxicity in the literature are mainly associated
need of neurosurgical intervention. The patient was                with divers using scuba equipment and suicide victims.
evaluated by an anesthesiologist due to high respirator            Dorevitch et al reported fatal asphyxiation incidents of
rate and lethargy and was initially considered admitting to        the construction workers in the United States between
ICU. Owing to the lack of intensive care unit beds, the            1990 and 1999. toxic gas inhalation.5 It was mentioned
patient was transferred to a specialised chest disease hospital.   that nitrogen and argon were the most frequently
                                                                   encountered asphyxiate gases (10.3% and 4.6%
He was fully alert next day but he had no recall of the            respectively). The rescuers were also exposed to excessive
event with anterograde amnesia of the subsequent 24                asphyxiate gases death rate of the rescued workers was
hours. He was treated with cefuroxime 750 mg q8H                   stated as 10.3%. The most common mechanism cause of
intravenously and clarithromycin 500 mg/per day orally             the incidents was similar to our case: wrong connection
for 14 days. Patient did not develop any fever. He had             of the air and the victimized workers were exposed to
paracardiac heterogenic hyperdensity shown on his first            excessive asphyxiate gases.
           Case 2:24-cv-00197-RAH Document 70-10 Filed 07/15/24 Page 3 of 3

48                                                                   Hong Kong j. emerg. med.  Vol. 19(1)  Jan 2012



Although nitrogen is considered to be nontoxic to               Notably, this type of work incident and poisoning is
humans, it does not support life and may rapidly lead to        completely preventable. The use of direct reading
asphyxia (2-3 minutes) through the depletion and                instruments with alarms for hydrogen sulfide, carbon
displacement of oxygen. Nitrogen is therefore a                 monoxide, and oxygen or other asphyxiate gases could
suffocating gas that results in depression of the central       have prevented the majority of poisoning fatalities. 5
nervous system, similar to carbon dioxide. 6 The                Checking the compressed air sources should be done
pathophysiology would vary according to the inhaled             before the use of air-line respirators. Using colour
oxygen concentration. An oxygen concentration from:             codes, writing the content and pin systems (different
6-8% would cause fainting within a few minutes. An              gas cylinders with different connection pins) may
oxygen concentration below 6% would lead to fainting            prevent misconnection and the tragic events. Training
within a few seconds, with possible severe brain damage         on the use of air-supplied respirators is a must for these
or even death if unattended.5,7 Severe convulsions have         workers.
been observed with pure nitrogen asphyxia after 2-3
minutes7 In the animals, vigorous jumping (possible
avoidance movement) have been observed due to asphyxia          Conclusion
with nitrogen. This was also seen in our patient.
Subconjunctival haemorrhage due to compression of the           Gases with asphyxiate properties are used in a variety
neck veins by the face mask had also been described.8           of industries and services. They are nontoxic to humans
                                                                in low concentrations. However, it can be life
Our patient presented to the emergency department with          threatening in cases of severe exposure. In workplace
the classical symptoms of nitrogen toxicity findings:           accident, for patient who presents to the emergency
sudden loss of consciousness, desaturation, lethargy,           department with a history of loss of consciousness while
involuntary movement, dyspnoea, and subconjunctival             using self-contained breathing apparatus, nitrogen or
haemorrhage. Although, hypoxia and lethargy could occur         other simple asphyxiate gas exposure should be taken
due to disease conditions like epilepsy and substance/ drug     into consideration seriously.
exposure, the patient's history was highly compatible with
simple asphyxiate gas intoxication.
                                                                References
The recommended treatment is as follows: patient should
be placed in clean, well-ventilated area and prompt             1.   Harding BE, Wolf BC. Case report of suicide by inhalation
resuscitation should be started.9 There is no specific               of nitrogen gas. Am J Forensic Med Pathol 2008;29(3):
antidote for nitrogen gas intoxication. For those patients           235-7.
who could be promptly evacuated, they usually have mild         2.   Weller MA. Asphyxia with nitrogen. Br Med J 1959;1
exposure and good prognosis. However, prolonged                      (5121):559.
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exposure may result in complications (like inhalation
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injury, seizures, coma, and cardiac arrest) and is associated        Med Pathol 2002;23(1):26-30.
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controversial because it increases the incidence                     Ind Med 1989;46(8):541-6.
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injury. In our patient, unnecessary high dose of
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metilprednisolone had been administrated in community           6.   Auwarter V, Pragst F, Strauch H. Analytical investigations
hospital (that could be related to the heavy body weight             in a death case by suffocation in an argon atmosphere.
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and nebuliser therapy led to good outcome of lung               9.   Miller K, Chang A. Acute inhalation injury. Emerg Med
symptoms.                                                            Clin North Am 2003;21(2):533-57.
